                                       Case 4:19-cv-06669-JST Document 87 Filed 03/18/21 Page 1 of 4



                                1   BUCHALTER
                                    A Professional Corporation
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                                6
                                    Attorneys for Defendants
                                7   ONE TOUCH DIRECT, LLC, and
                                    ONETOUCH DIRECT- SAN ANTONIO LLC
                                8

                                9                                 UNITED STATES DISTRICT COURT

                           10                                    NORTHERN DISTRICT OF CALIFORNIA

                           11       ROBERT ROSS,                                  Case No. 4:19-cv-6669-JST

                           12                       Plaintiff,                    JOINT STIPULATION AND REQUEST
                                                                                  TO ADD ONE TOUCH DIRECT, LLC
                           13               vs.                                   AND ONETOUCH DIRECT – SAN
                                                                                  ANTONIO LLC TO THE PROTECTIVE
                           14       AT&T MOBILITY, LLC, ONE TOUCH                 ORDER; AND [PROPOSED] ORDER
                                    DIRECT, LLC, and ONE TOUCH DIRECT-
                           15       SAN ANTONIO, LLC,

                           16                       Defendant.

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      BUCHALTER                      JOINT STIPULATION AND REQUEST TO ADD ONE
A PROFES SION AL CORPORAT ION
                                                                                                      Case No. 4:19-cv-6669-JST
        SACR AMENTO                  TOUCH DIRECT, LLC AND ONE TOUCH DIRECT –
                                     SAN ANTONIO, LLC TO PROTECTIVE ORDER
                                    BN 44674432v1
                                       Case 4:19-cv-06669-JST Document 87 Filed 03/18/21 Page 2 of 4



                                1           Plaintiff, Robert Ross (“Plaintiff”), and Defendants AT&T Mobility, LLC (“AT&T”),
                                2   One Touch Direct, LLC (“OTD”), and OneTouch Direct – San Antonio LLC (“OTD-SA”)
                                3   (collectively, OTD and OTD-SA are the “OTD Defendants”), through their counsel of record,
                                4   hereby stipulate and respectfully request that the OTD Defendants, as later joined parties, be
                                5   added as parties to the Protective Order in this case. The Plaintiff, AT&T and the OTD
                                6   Defendants are collectively referred to herein as the “Parties.”
                                7           IT IS HEREBY STIPULATED by and between the Parties as follows:
                                8           1.      On June 25, 2020, the Court issued Plaintiff and AT&T’s stipulated Protective
                                9   Order (as modified by the Court) (“Protective Order”) (Dkt. No. 57), which governs the
                           10       confidentiality of documents in this action.
                           11               2.      On December 21, 2020, Plaintiff filed its First Amended Complaint naming the
                           12       OTD Defendants as defendants for the first time. (Dkt. No. 71.)
                           13               3.      On January 29, 2021, the OTD Defendants filed their Answer to the First
                           14       Amended Complaint.
                           15               4.      As later joined parties, the OTD Defendants have agreed to abide by the terms of
                           16       the Protective Order and to be added as “Parties” to the Protective Order.
                           17               5.      Good cause exists to add the OTD Defendants as Parties to the Protective Order to
                           18       ensure the protections provided under the Protective Order extend to the OTD Defendants as
                           19       newly joined parties to the action.
                           20               6.      The Parties hereby respectfully request that the OTD Defendants be deemed added
                           21       as Parties to the Protective Order.
                           22               IT IS SO STIPULATED.
                           23       DATED: March 16, 2021                          BUCHALTER, A Professional Corporation
                           24

                           25                                                      By:          /s/ Alissa R. Pleau-Fuller
                                                                                                       KEVIN T. COLLINS
                           26                                                                     ALISSA R. PLEAU-FULLER
                                                                                                     Attorneys for Defendants
                           27                                                                 ONE TOUCH DIRECT, LLC, and ONE
                                                                                             TOUCH DIRECT- SAN ANTONIO, LLC
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      BUCHALTER                      JOINT STIPULATION AND REQUEST TO ADD ONE
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                                       Case 4:19-cv-06669-JST Document 87 Filed 03/18/21 Page 3 of 4



                                1   DATED: March 16, 2021                         AFFELD GRIVAKES LLP
                                2

                                3                                                 By:         /s/ Christopher Grivakes
                                                                                               CHRISTOPHER GRIVAKES
                                4                                                                  DAMION ROBINSON
                                                                                                   Attorneys for Plaintiff
                                5                                                                     ROBERT ROSS
                                6
                                    DATED: March 16, 2021                         GIBSON, DUNN & CRUTCHER LLP
                                7

                                8
                                                                                  By:          /s/ Ashley Johnson
                                9                                                                  MARCELLUS MCRAE
                                                                                                    ASHLEY JOHNSON
                           10                                                                       Attorneys for Defendant
                                                                                                    AT&T Mobility, LLC
                           11

                           12
                                            I, the undersigned, hereby attest that the other signatories have concurred in the filing of
                           13
                                    this document as indicated by a conformed signature (/s/) within this e-filed document.
                           14

                           15       DATED: March 16, 2021                         BUCHALTER, A Professional Corporation
                           16

                           17                                                     By:        /s/ Alissa R. Pleau-Fuller
                                                                                                    KEVIN T. COLLINS
                           18                                                                  ALISSA R. PLEAU-FULLER
                                                                                                  Attorneys for Defendants
                           19                                                           ONE TOUCH DIRECT, LLC, and ONETOUCH
                                                                                              DIRECT- SAN ANTONIO LLC
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                                       Case 4:19-cv-06669-JST Document 87 Filed 03/18/21 Page 4 of 4



                                1                                       [PROPOSED] ORDER
                                2           Having read and considered the moving papers, the Parties’ Joint Stipulation and Request
                                3   to Add One Touch Direct, LLC and OneTouch Direct – San Antonio LLC (collectively, “OTD
                                4   Defendants”) to the Protective Order in this case (Dkt. No. 57) is hereby GRANTED. The OTD
                                5   Defendants are hereby added as Parties to the Protective Order.
                                6           PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                7

                                8          March 18, 2021
                                    Dated: ________________                              ___________________________________
                                                                                         HON. JON S. TIGAR
                                9                                                        United States District Court Judge

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